
'In' re'•’*American Sugar Company, Factory Insurance Association, Continental Casualty Company and Certain Underwriters at Lloyds applying for certiorari, or writ of review, to the Court of Appeal, Fourth Circuit, Parish of Orleans. 229 So.' 2d 395.
It is ordered that the writ of review issue; that the Court of Appeal send up the record in duplicate of the case; and that counsel for plaintiff and defendant be no-' tified.
The application is granted but limited to' a consideration of the correctness of that portion of the Court of Appeal’s judgment set forth in paragraphs (1), (2) and (3) of its decree. In all other respects the application for certiorari is denied.
BARHAM, J., does not participate.
